The plaintiffs' property on West street is exempt from taxation "so long as and to the extent that it is used for the purposes of the association." Laws 1893, c. 259. The preamble to the act declares that those purposes are solely benevolent and charitable. That portion of the building which is let to tenants is not used for the purposes of the association, but to obtain an income, or, in the language of the preamble, "for the purpose of profit or gain." The use made of the income does not entitle the plaintiffs to an exemption of the property from which the income is derived. Nor is the fact that the use incidentally promotes the objects of the association of controlling effect. The use must be exclusively for those objects, or there is no exemption. The reason for this conclusion has been fully stated in recent cases, and the question cannot now be considered to be open in this state. Phillips Exeter Academy v. Exeter, 58 N.H. 306; Alton etc. Association v. Alton, 69 N.H. 311; New London v. Academy, 69 N.H. 443. The tax was rightfully assessed. *Page 224 
This conclusion renders it unnecessary to consider whether the plaintiffs' misconception of the form of their remedy is a sufficient defence. P.S., c. 59, s. 11; Perley v. Dolloff, 60 N.H. 504; Rockingham Ten Cent Savings Bank v. Portsmouth, 52 N.H. 17, 29.
Bill dismissed.
PIKE, J., did not sit: the others concurred.